    Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 1 of 17. PageID #: 6051




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


United States of America,                                     Case No.: 3:14CR403

                       Plaintiff,

               v.                                             ORDER

Susan M. Pioch, et al.,

                       Defendants



       This is a criminal case in which a jury, following a two-week trial, convicted the three

defendants – Susan M. Pioch, Kurt Mallory, and Margaret McKnight1– of conspiracy to commit mail

and bank fraud and related substantive offenses: Pioch of bank fraud, mail fraud, aggravated identity

theft, money laundering, and filing a false tax return; Mallory of bank fraud, mail fraud, aggravated

identity theft, and money laundering; and McKnight of bank fraud, mail fraud, aggravated identity

theft, and money laundering.

       Pending are each defendant’s Fed. R. Crim. P. 33 motion for a new trial. (Docs. 336, 337,

339). For the reasons that follow, I overrule the motions.

                                           Background

       Mallory and McKnight lived on the second floor of a duplex that Martin Fewlas owned.

Fewlas, a widower and retired Toledo city worker, lived on the first floor. Despite his humble



       1
           A fourth defendant, Gary Mallory, father of defendant Kurt Mallory, pled guilty and
testified, via a video deposition, as a government witness. More about him later on.
    Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 2 of 17. PageID #: 6052




employment, Fewlas had amassed an estate of about $2.2 million. He had had no contact with his

family for several years, and his daily routine was, starting around noon, to go to a series of bars.

        Fewlas died on August 28, 2010. A few days later, most likely in the late morning of

Wednesday, September 1, 2010, Pioch – an attorney who had drafted and made several copies of a

will leaving Fewlas’s entire estate to McKnight – had Gary Mallory forge Fewlas’s signature. Pioch

and Kurt Mallory witnessed the signing of the fake will, which was dated June 16, 2010.

        Unbeknownst to the conspirators, Fewlas had executed a bona fide will in 1993. At the time

of Fewlas’s death, a grand-nephew, James McLaughlin, was the heir under that will. Pioch had,

however, notified McLaughlin, who was unaware of the genuine will, that Fewlas had executed a

will – i.e., the fake will.

        Pioch filed the fake will with the Lucas County, Ohio, Probate Court. That court handled the

will and estate in a routine manner, and, in time, McKnight acquired control over Fewlas’s estate.

        At that point the three defendants no doubt believed they had concocted and flawlessly

carried out a scheme as facile as it was foolproof. On its face, there was nothing unusual about the

will, its presentation by Pioch, or the probate process. In colloquial terms, it simply slid on by.

        The conspirators were, however, a little too smart and a whole lot too stupid for their own

good. McKnight began withdrawing funds from the fourteen bank accounts in which Fewlas had had

substantial savings. McKnight, presumably counseled by Pioch, on several occasions withdrew

$9,999 from individual accounts. But sometimes on the same day that McKnight had done so, she

also took additional funds from other accounts in other branches of the same bank.

        Her activities came to the attention of the Internal Revenue Service. Its agents began to

investigate the situation. When confronted, McKnight, spilling blood before the sharks, denied her


                                                  2
    Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 3 of 17. PageID #: 6053




activities. One thing led to another, and then, finally, to the indictment, trial, and convictions. What

had appeared at the outset foolproof was, in the end, foolish and foolhardy.

        Long before that endpoint, the IRS had, on April 11, 2013, executed search warrants at the

duplex and Pioch’s office and home, and had documents, other evidence, and what remained of the

estate’s assets – about $750,000.

        Before then, Pioch had received $200,000 from McKnight, plus a commitment to receive

$500,000 in anticipation of a will contest.2 Mallory had bought a recreational vehicle and a used-car

lot. He and McKnight had expended considerable sums on other playthings and gambling junkets

to Las Vegas.

        By the time of sentencing, about $600,000 remained unaccounted for.

        The defendants’ motions raise, in sum, seven challenges to their convictions: 1) insufficiency

of the evidence to sustain the guilty verdicts; 2) a Confrontation Clause challenge to admission of

Gary Mallory’s testimony by way of video deposition; 3) improper admission of Defense Exhibit

505; 4) improper admission of hearsay; 5) improper prosecutorial vouching; 6) improper

encouragement to the jury to disregard expert testimony; and 7) improper prosecutorial allusion

during rebuttal to an exhibit not admitted into evidence.

        None of these contentions has any merit.




        2
         The will, as noted, passed effortlessly and without incident through probate. Pioch’s
deflection of McLaughlin had succeeded completely – and had gained her the expectancy of a half-
million dollar “fee.”

                                                   3
    Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 4 of 17. PageID #: 6054




                                             Discussion

                                1. Convictions Not Contrary to the
                                 Manifest Weight of the Evidence

       In evidence-parsing arguments more suitable to closing to a jury than in new trial motions,

the defendants claim that the evidence cannot support the verdict.

       The jury had but one issue to decide: was the will dated June 16, 2010, real or fake. To make

this determination, the jury had to determine the reliability or lack thereof of the testimony of Gary

Mallory, the government’s or the defendants’ handwriting experts, and Pioch and/or Kurt Mallory,

both of whom testified.

       The jury only had either to believe Gary Mallory or the government’s handwriting expert or

disbelieve Pioch/Kurt Mallory to find the will was a fake and return guilty verdicts.

       Indeed, the jury had to resolve only one of these three alternatives against the defendants to

return sustainable jury verdicts. Once it had resolved one against the defendants, it had no need to

consider or resolve the other two. To return not guilty verdicts, the jury, in contrast, had to find in

the defendants’ favor as to all three of these determinative questions.

                                          A. Gary Mallory

       Gary Mallory testified that he had forged Fewlas’s signature on the June, 2010, will. Gary

Mallory was an admitted liar who had a history of fraudulent activity. His own daughter confirmed

that he had frequently lied in the past. For many years he had been long estranged from his son Kurt.

At the time of the crime, though, Gary Mallory was living with Kurt and McKnight.

       After probate of the forged will, he accepted nothing from the estate and returned to Arizona,

where he earlier had lived before his sojourn in Toledo. He then returned to seek money from Kurt,



                                                  4
    Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 5 of 17. PageID #: 6055




who turned him down. Gary Mallory then approached Pioch, went to her office, demanded $50,000,

and threatened to disclose the crime if not paid. Like Kurt, Pioch angrily rejected his blackmail

attempt. A colleague, a former police officer, told her to file a police report about the incident, and

she did so.

        On the other hand, when IRS agents first approached him, Gary Mallory had immediately

“fessed up” to his role in the forgery – thereby admitting that he had committed a felony.

        Even before then, Gary, who acknowledged his attempt to blackmail Pioch, had made good

on his threat to her to tell the authorities about the forgery. He had thereafter called the Probate Court

and reported that the will was a fake. The person with whom he had spoken had, however, literally

hung up on him. In making that call, however, Gary Mallory had exposed himself to possible

prosecution; he could not have anticipated that no one would pay attention to him.

        The jury could have gone either way with regard to Gary Mallory’s credibility. If the jury

believed him, it had to return a guilty verdict.

                                 B. Expert Handwriting Testimony

        Even if the jury did not believe Gary Mallory, it could return a guilty verdict if it gave greater

weight to the testimony of the government’s handwriting expert than to the defendants’ expert. Both

experts exhibited samples of Fewlas’s known signature for comparison with the signature on the

will.

        The jury could have gone either way as to the expert handwriting-analysis testimony. There

is no need to try, as the parties do, to parse the conflicts between the experts. They are in the record.

        It was up to the jury to credit one expert’s assessment over the other; that’s what jurors

always have to do when the parties offer conflicting, but equally plausible, expert testimony.


                                                    5
    Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 6 of 17. PageID #: 6056




       If the jurors gave greater weight to the government’s expert they had to return guilty verdicts.

                                        C. Pioch’s Testimony3

       I turn last to what the jurors might have considered first: namely, whether Pioch’s testimony

about the will was truthful or false.

       Pioch testified that Kurt Mallory, who had done some painting work at an apartment in which

she had an interest, had introduced her to Fewlas. There was third-party testimony that she had met,

as she testified, with Fewlas at a bar. She had with her a legal pad for taking notes. According to her,

she prepared the will and he signed it in June, several weeks before his death.

       The parties offered conflicting testimony about Fewlas’s possible testamentary intent.

Supportive of Pioch’s testimony (and the validity of the will) was undisputed evidence that Fewlas

had known McKnight most of her life. She resembled his late wife, which made him especially fond

of her. Some witnesses testified that Fewlas had indicated that he wanted to “take care of”

McKnight. Kurt Mallory testified that McKnight had cared for Fewlas, and that Fewlas and she had

had a close, friendly relationship.

       Other evidence, both third-party and circumstantial, supported the government’s contention

that, due to McKnight’s involvement with Kurt Mallory, Fewlas would never have intended to leave

his estate to her, thereby risking that it would come under Mallory’s control. According to some

witnesses, Fewlas both loathed and feared Mallory.




       3
        While the jurors also could have returned guilty verdicts if they disbelieved Kurt Mallory’s
testimony, I focus on Pioch’s testimony. The jury’s decision one way or the other was, on its own,
outcome-determinative. A finding that she was lying would have mooted the need to consider
anything else.

                                                   6
    Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 7 of 17. PageID #: 6057




        There was rather stark circumstantial evidence that undercut the view of McKnight as

Fewlas’s loving caregiver: namely, that, following Fewlas’s death and cremation, she (or Mallory)

put his remains in a cardboard box, which they left behind after they moved out of the duplex. At

some point the house was plundered (the door having been left open after the IRS broke in to execute

its search warrant), and the box became water-logged.

        Whatever view the jury might have taken toward the conflicting evidence about Fewlas’s

possible testamentary intent, and whether it might have viewed McKnight’s attitude toward Fewlas

as heartfelt or heartless, did not, in the end, really matter.

        What mattered was the jury’s view of Pioch’s truthfulness. As with Gary Mallory’s

credibility and the weight of the expert testimony, there was no real need for the jurors to try to sort

though the sparse and spotty evidence about what Fewlas might have intended, and why he might

have intended it.

        This was so because the government had documents that Pioch herself had prepared and

endorsed that directly undercut her credibility.

        The first of these were three inherently inconsistent federal tax returns that Pioch had filed.

        Her initial return for 2010 did not include the $200,000 she had received from McKnight as

her share of the Fewlas estate.

        After the IRS had executed its search warrants on April 11, 2013, Pioch filed an amended

return one week later. In that return she declared the $200,000 as ordinary income, explaining that

she had “inadvertently missed some gross receipts in the business income.” (Tr. 156).

        Then, on learning that, by declaring her “fee” as ordinary income she had incurred a $40,000

tax liability, Pioch filed a second amended return declaring that income as a capital gain. To justify


                                                    7
    Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 8 of 17. PageID #: 6058




that explanation, she claimed to have given McKnight a half interest in her apartment building. There

had been no formal transfer of any such interest, which Pioch claimed she had undertaken to keep

McKnight from continuing to waste the assets she had obtained from the Fewlas estate.

        Standing alone, the inconsistencies in Pioch’s tax returns and the implausibility of her efforts

to explain those returns and her reasons for filing them could have sufficed for the jury to discredit

her testimony about the bona fides of the bogus will.

        But there was more, and even more damning, impeachment evidence: namely, Exhibit 505

on her Exhibit List, which, per pretrial order, she had provided to the government shortly before trial.

        The exhibit list that Pioch’s attorney provided to the government before trial included defense

Exhibit 505.4 That exhibit purported to be an unexecuted Power of Attorney from Fewlas to

McKnight, giving her authority over all his real property. It bore the endorsement, “Prepared By:

Susan Pioch, Esq.,” and was dated June, 2010 – just like the fake will.

        The document references 2521 Airline Road, Toledo. But Fewlas never owned that property;

indeed, it did not go on the market until several months after his death. The sellers had never heard

of Fewlas. Kurt Mallory bought the Airline Road property with funds he obtained from McKnight.

        The IRS agents executing the search warrants at Pioch’s home and office did not find this

document. The government did not know about it until it arrived with Pioch’s other proposed trial

exhibits.




        4
            I discuss the defendants’ challenge to the admissibility of this exhibit infra.

                                                     8
    Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 9 of 17. PageID #: 6059




       Pioch did not – and, in any event, clearly could not – offer a plausible explanation for this

document, which she claimed to have prepared at about the same time as the fake will. But that, of

course, was not just implausible – it was impossible.5

                          D. Conclusion re. Sufficiency of the Evidence

       Viewed most favorably in support of the guilty verdict, the evidence, despite all the conflicts,

was clearly sufficient to support the those verdicts. The jury might or might not have believed Gary

Mallory; it might or might not have given more weight and credence to the defendants’ handwriting

expert; and it might even, though it would seem hardly likely, have believed Pioch.

       From the verdicts, though, it is readily apparent that, as to at least one of these dispositive

issues, the jury found in favor of the government and against the defendants. The time it took to

return a verdict – about three hours – was, despite the defendants’ protestations, more than ample

for it to evaluate all the evidence that bore directly on Gary Mallory’s credibility, which handwriting

expert to accept, and whether Pioch’s testimony was at all believable.

       There was plenty of time for it to decide the outcome fairly, and there was plenty of evidence

to support its decision to find all defendants guilty on all counts.

                                      2. Confrontation Clause

       The defendants renew their objection to my pretrial determination that, due to his deteriorated

health, Gary Mallory was unavailable to testify in person in Toledo.

       I have reviewed the defendants’ contentions, the government’s response, and my pretrial

order overruling the defendants’ Confrontation Clause objection to Gary Mallory’s video testimony.


       5
         The government provided the most sensible explanation for this document: Pioch prepared
it and gave it to her attorney before trial to offer as proof that she was doing legal work for Fewlas
in June, 2010.

                                                  9
   Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 10 of 17. PageID #: 6060




U.S. v. Pioch, --- F. Supp. 3d ----, 2016 WL 8715918 (N.D. Ohio). On the basis of that review, I

perceive no reason to revise, much less reverse, my original ruling allowing the jury to hear Gary

Mallory’s testimony by video rather than in person.

                                       3. Evidentiary Issues

                                     A. Defense Exhibit 505

       The defendants claim that Exhibit 505, the bogus Power of Attorney, lacked an adequate

foundation on which to find that it was what the proponent – the government – claimed it to be:

namely, a bogus document that Pioch prepared post hoc to bolster her claim that in June, 2010, she

was doing other legal work for Fewlas besides preparing the will that she presented for probate.

       McKnight complains this documents comes “from thin air.”

       I disagree: I have no doubt that it came from Pioch and that it is exactly what the government

says it is. Every known circumstances supports my confidence in that regard.

       First: it bears the endorsement, “Prepared By: Susan Pioch, Esq.” She acknowledged,

evasively, that her assistant “could have” prepared it. Without more, the endorsement and

acknowledgment, half-hearted as it was, suffice to make it more likely than not, as Fed. R. Evid. 901

requires, that the document came from Pioch and no place else. Moreover, its only possible

usefulness as a defense exhibit was to support her testimony about doing legitimate legal work for

Fewlas in June, 2010.




                                                 10
   Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 11 of 17. PageID #: 6061




       In addition, on July 13, 2011, Kurt Mallory had signed an affidavit (though, to use the

currently popular euphemism for recantation, he “walked it back” during the trial) stating that

“[McKnight] had [Fewlas’s] POA.”6

       Had this document been in existence, moreover, before the IRS agents executed their search

warrants, they no doubt would have found and seized it.

       Another indication of post hoc, pretrial fabrication is the absence of a signature. If Pioch had

prepared the Power of Attorney concurrently with the will, it would have been signed concurrently

with the will – whenever and by whomever the will was signed.7

       Finally, Pioch was the only person who could have provided the exhibit to her attorney, who

in turn, no doubt at her request, listed it as an exhibit and gave it to the government.

       In sum: there was no other possible, let alone likely, author or source than Pioch. And

certainly there was and is no reason not to conclude that Exhibit 505 is anything other than what the

government claimed it to be: a bogus document that Pioch prepared in anticipation that it would

corroborate her false testimony about the forged will.

       To be sure, once in the government’s hand and put before the jury, Exhibit 505 was highly

prejudicial. But it was not, under Rule 403, unfairly so, given its significant probative effect as

impeachment evidence.




       6
        McKnight, of course, did not and could not have had Fewlas’s Power of Attorney, as the
purported “POA” was unsigned when Pioch gave it to her attorney before trial.
       7
        The most likely reason that the signature line on the Power of Attorney was blank is that,
when Pioch prepared it, Gary Mallory was neither available nor wiling to attempt a further forgery.

                                                 11
   Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 12 of 17. PageID #: 6062




                                              B. Hearsay

        McKnight argues that I should not have admitted testimony by Fewlas’s friends about his

antagonism toward Kurt Mallory.8

        The government raised the issue of admissibility of this testimony in a pretrial motion in

limine. (Doc 180). I granted the government’s motion, finding that “Fewlas’s antagonism toward

Mallory is relevant to the issue of whether he would have left his substantial estate to Mallory, or,

as the indictment alleges, the defendants, including Mallory, engaged in a conspiracy, via a forged

will, to obtain the estate’s assets.” (Doc. 219).9

        I agree with the government that I committed no error in admitting Fewlas’s statements.

        Rule 803(3) of the Federal Rules of Evidence allows statements “of the declarant’s

then-existing state of mind (such as . . ., intent, or plan).”

        As I did in this case, other courts have applied Rule 803(3) to admit a deceased person’s

views toward the defendants. E.g., U.S. v. Johnson, 442 F. App’x 85, 95 (6th Cir. 2011) (evidence

offered “to indicate a breakdown in the relationship”).

        I find no error in admitting this evidence. In any event, if I erred, this evidence – and that like

it that the defendants offered to prove that Fewlas really favored McKnight over anyone else – could

not have tipped the balance one way or the other. Its bearing on whether the will was fake or real



        8
        The government points out that it raised this issue in pretrial motion in limine, which no
defendant opposed. The lack of opposition presumably reflected the defendants’ intent to offer
statements by others about Fewlas’s affection for McKnight and intent to “take care” of her.
        9
         Only Pioch responded to the government’s motion in limine. She expressed no objection,
provided that I allowed the defense, as I did, to offer counter-evidence of the same sort. As noted
above, the evidence as to Fewlas’s testamentary intent was, in the end, sparse, spotty, and
speculative.

                                                     12
   Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 13 of 17. PageID #: 6063




was, at most ancillary: what mattered was how the jury viewed the testimony by Mallory, the

handwriting experts, and Pioch.

                                    4. Prosecutorial Misconduct

                                            A. Vouching

        Mallory claims the government improperly vouched for Gary Mallory’s credibility when the

prosecutor stated in closing argument that the jurors should rely on common sense in making

credibility determinations.

        There is no merit to this contention for two reasons.

        First, vouching occurs when the prosecutor expresses his or her personal view as to a

witness’s truthfulness. E.g., Wilson v. Bell, 368 F. App’x 627, 633 (6th Cir. 2010). That simply did

not happen here.

        Second, my instructions expressly told the jurors that, among other things, they could use

their common sense in determining whom to believe.

        It was likewise not vouching for the prosecutor to ask rhetorically:

        [I]f you’re going to make up a story to blackmail someone, why are you going to
        make up a story that puts you at the center of the forgery, puts the pen in your hand?
        Why not make up a story that says, hey I wasn’t involved in it, but you confessed to
        me, or I saw you do it, or I have some other evidence that puts you in the conspiracy?
        Then if you don’t get any money, well, no harm done. Right? What did Gary Mallory
        get out of this? He got no money and a felony conviction. What a crazy thing to do
        if that story’s not true. If you want to make up a story, you can do an awful lot –
        much better job than what Gary Mallory did.

(Tr. 1839).

        In making these comments, the prosecutor did no more than point out how Mallory’s claim,

which he made not just at, but well before, trial, about his acts as a forger was against both his penal

and pecuniary interests. This is not improper. Wilson, supra, 368 F. App’x at 633. Nothing in these

                                                  13
   Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 14 of 17. PageID #: 6064




comments expressed the prosecutor’s personal view as to Mallory’s credibility: no vouching

occurred.

       In any event, the statements were not sufficiently flagrant to justify a new trial. They did not

“tend[ ] to mislead the jury or prejudice the defendant,” they were isolated, not extensive, they were

more accidental than deliberate, and the evidence against the defendants was strong. Wilson, supra,

368 F. App’x at 634-35.

                          B. Comments re. Handwriting Expert Testimony

       In its closing argument, the government encouraged the jurors to reach their own conclusions

about the genuineness of the signature on the will. This was in accord with my conventional

instruction that the jurors did “not have to accept [the opinion] testimony or find it conclusive as to

the particular matter.”

       This was especially apt here. Other courts have held that jurors can properly conduct their

own visual comparison of known and contested exemplars. See U.S. v. Jones, 107 F.3d 1147,

1160–61 (6th Cir. 1997) (“[T]he ability of jurors to perform the crucial visual comparisons relied

upon by handwriting experts cuts against the danger of undue prejudice from the mystique attached

to ‘experts.’”); see also U.S. v. Buck, 1987 WL 19300,*3–4 (S.D.N.Y.) (jurors “can perform visual

comparisons of handwriting samples as easily as experts can”).

       It was, accordingly, proper and permissible for the government to encourage the jurors to

look with their own eyes and, in light of what the experts had to say, make up their own minds about

what they saw.




                                                  14
   Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 15 of 17. PageID #: 6065




                                C. Comment on Defense Exhibit 515

        Gary Mallory testified unequivocally about the time within which the forgery occurred –

which worked out to be the late morning on either Monday, August 30, Tuesday, August 31, or

Wednesday, September 1, 2010. Pioch was able to establish that she could not be at Fewlas’s

residence, where the forgery occurred, on either Monday or Tuesday morning.

        With regard to her activities on Wednesday, September 1st, Pioch testified that she had gone

to the Juvenile Court for a 9:30 a.m. pretrial conference, and that she had a hearing in Domestic

Relations Court that afternoon starting at 1:30 p.m.

        On arriving at the Juvenile Court she learned that the court had vacated the conference.

        Exhibit 515, which was not offered or admitted into evidence, was a copy of that court’s

order, entered a couple of days later, vacating its September 1st conference. It corroborated Pioch’s

testimony about the conference being vacated, and her additional testimony that she had not had

prior notice of that fact before going to the courthouse that morning.

        Pioch further testified that she had then spent an hour talking with the Magistrate.

        Pioch did not account for the time between the end of her conversation with the Magistrate

and her 1:30 domestic relations hearing.10 That being so, the jury could have found, in weighing her

“I couldn’t have been there then” quasi-alibi defense, that she in fact had had ample time to go to

Fewlas’s residence, preside over the signing of the fake will, and return in time for her 1:30 hearing.




        10
         The government’s opposition notes that the distance from the Juvenile Court to Fewlas’s
residence is three miles. I take judicial notice that that is accurate. I also note judicially that the Lucas
County Juvenile Court and the Lucas County Domestic Relations Court are in the same building in
downtown Toledo. So Pioch’s point of departure and her return destination were the same.

                                                     15
   Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 16 of 17. PageID #: 6066




        In closing argument, Pioch’s attorney mistakenly asserted that the Domestic Relations

hearing had been in the morning, not in the afternoon, as Pioch had testified:

        Let’s look at the morning of the 1st. We have her date book. 9:30, Lange pretrial in
        Domestic Relation. She’s downtown, tied up in Domestic Relations Court, which
        takes a long time. She has an afternoon appointment, and, no, she didn’t run out to
        2557 Broadway and had a forgery party between those events. It’s a lie. We’ve
        proven it to be a lie, and we don’t have to prove anything. But I think we have.

(Tr. 1924).11

        In rebuttal to this misstatement, the prosecutor alluded to Exhibit 515. At the time, he did not

realize that the defense had not offered the exhibit into evidence.12 When, at sidebar, I learned that

that was so, I instructed the jury to disregard the prosecutor’s reference to that unadmitted exhibit.

        Nothing about the government’s passing reference to Exhibit 515 justifies a new trial.

        Instead of tending to mislead the jury, the government sought in good faith to eliminate any

confusion that Pioch’s attorney’s misstatement about Pioch’s timetable may have generated.13 Thus,

there was no misconduct. See U.S. v. Millar, 79 F.3d 338, 343 (2d Cir. 1996) (mistaken reference

to exhibit not in evidence was not misconduct); U.S. v. Vida-Noriega, 281 F. App’x 718, 719 (9th

Cir. 2008) (reference to unadmitted exhibit was “an honest mistake” rectified by a curative

instruction).




        11
          I have no doubt that Pioch’s attorney misstated her timetable inadvertently and
unintentionally.
        12
          I am convinced that this mistake in that respect was every bit as inadvertent and
unintentional as the misstatement by Pioch’s counsel.
        13
         There is no dispute that, in fact, Pioch was due in Juvenile Court at 9:30 and Domestic
Relations Court at 1:30.

                                                  16
   Case: 3:14-cr-00403-JGC Doc #: 369 Filed: 04/17/17 17 of 17. PageID #: 6067




       Finally, as already noted, the government’s case was very strong. Even if there had been

misconduct, and even if it had been flagrant, it could have had no more than a featherweight effect

on a balance that already tilted overwhelmingly against Pioch.

                                           Conclusion

       There is no merit to the motions for new trial.

       It is, accordingly,

       ORDERED THAT the motions of the defendants for a new trial (Docs. 336, 337, 339) be,

and the same hereby are, denied.

       So ordered.



                                                            /s/ James G. Carr
                                                            Sr. U.S. District Judge




                                                17
